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                                        UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF ARKANSAS
                                               HARRISON DIVISION

                In re: Billy Scallorn                                              Case No.: 3:21-bk-71598
                Debtor                                                                           Chapter 13


                                         ORDER TO EXTEND DEADLINE
                                   TO FILE DEFICIENT SCHEDULES AND PLAN

                         Now before the Court is the Motion to Extend Time to File Deficient Schedules

                and Plan filed on behalf of Billy Scallorn ("Debtor") by his attorney, Matthew D.

                Mentgen, on November 26, 2021 [Docket 12]. This Court finds that the motion should

                be, and hereby is, GRANTED. Accordingly, this Court orders that the Debtor is given an

                additional 14 days to file the deficient schedules in this case.


                         IT IS SO ORDERED.

                                                                          ________________________
                                                                          Bianca M. Rucker
                                                                          United States Bankruptcy Judge




                                                        11/30/2021




EOD: November 30, 2021
